                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

GLENDA R. LAWSON                                  )
                                                  )
          Plaintiff,                              )
                                                  )            Case No.: 1:18-cv-06918
v.                                                )
                                                  )
MANDARICH LAW GROUP, LLP                          )
                                                  )
          Defendant.                              )

                            DEFENDANT’S MOTION TO DISMISS

          Defendant, Mandarich Law Group, LLP, (“MLG”) hereby moves this Court pursuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure to dismiss Plaintiff’s Amended Complaint

against it with prejudice for failure to state a claim upon which relief can be granted. In support

of which, MLG states as follows:

     I.       STANDARD

     A. Standard For Deciding a Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6)

          While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed

factual allegations, a plaintiff’s obligation to provide the grounds of his entitlement to relief

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do. Bell Atl. Corp. v. Twombly, 127 S.Ct. 1955, 1964-1965 (2007). The Supreme

Court explained in the post-Twombly world of pleading, “the tenet that a court must accept a

complaint’s allegations as true is inapplicable to threadbare recitals of a cause of action’s elements,

supported by mere conclusory statements.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A plaintiff

must allege more than merely a “conceivable” claim; a plaintiff must plead enough facts to state a

claim for relief that is plausible on its face in order to survive a Defendant’s motion to dismiss. Id.,

at 679.

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   B. The Unsophisticated Consumer

       Whether a collection letter violates the FDCPA is determined through the eyes of the

“unsophisticated consumer.” Wahl v. Midland Credit Mgmt., 556 F. 3d 643, 645 (7th Cir. 2009).

This hypothetical consumer, although uninformed, naïve and trusting, is not a dimwit. Id. The

unsophisticated consumer “possess a rudimentary knowledge about the financial world, is wise

enough to read collection notices with added care, possess ‘reasonable intelligence,’ and is capable

of making basic logical deductions and inferences.” Pettit v. Retrieval Masters Creditors Bureau,

Inc., 211 F. 3d 1057, 1060 (7th Cir. 2000). Courts are to disregard unrealistic, peculiar, bizarre,

and idiosyncratic interpretations of collection letters. Durkin v. Equifax Check Servs., 406 F. 3d

410, 414 (7th Cir. 2005). Furthermore, courts should reject a plaintiff’s interpretation of a

collection letter if it appears to be “fantastic conjecture” that a “significant fraction of the

population” would not find misleading. Taylor v. Cavalry Inv., L.L.C., 365 F. 3d 572, 574-575 (7th

Cir. 2004). If a significant fraction of the population could not find the letter misleading then the

case must be dismissed. Gruber v. Creditors’ Prot. Serv. 742 F. 3d 271, 274 (7th Cir. 2014).

       The unsophisticated consumer standard includes an objective element of reasonableness,

which “shields complying debt collectors from liability for unrealistic or peculiar interpretations

of collection letters.” Gammon v. GC Services Ltd. Partnership, 27 F. 3d 1254, 1257 (7th Cir.

1994). The unsophisticated consumer “is wise enough to read collection notices with added care,

[is possessed of] reasonable intelligence, and is capable of making basic logical deductions and

inferences.” Pettit v. Retrieval Masters Creditors Bureau, Inc., 211 F.3d 1057, 1060 (7th Cir.

2000). When a Court is determining whether a letter complies with the FDCPA the entire letter

must be reviewed in its entirety, not just the isolated passage relied on by plaintiff. Edmonds v.

Nat’l Check Bureau, Inc., 2003 U.S. Dist. LEXIS17476, * 12 (S.D. Ind., Aug. 1, 2003).



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      II.      PLAINTIFF’S CLAIMS UNDER §§ 1692e and f MUST BE DISMISSED

The Letters are Not Deceptive, Confusing or Misleading

      1. Plaintiff Fails to Plead Facts Sufficient to State Causes of Action Under §§ 1692e, e(3) and
         e(10) Regarding Defendant’s Purported Lack of Meaningful Review

            Plaintiff’s Amended Complaint is conclusive and speculative on its face. See E.E.O.C. v.

Concentra Health Servs., Inc., 496 F.3d 773, 776 (7th Cir. 2007) (factual allegations in the

complaint must be sufficient to raise the possibility of relief about the “speculative level”). Plaintiff

asserts claims under §§ 1692e, e(3) and e(10) based on pure conjecture and assumption without

supporting facts, and therefore fail to meet the level of specificity required under the plausibility

pleading standard. A complaint must show “that the plaintiff has a right to relief, by providing

allegations that raise a right to relief above the speculative level,” which means that the complaint

“must do more than merely avoid foreclosing possible bases for relief.” Windy City Metal

Fabricators & Supply, Inc. v. CIT Tech. Fin. Servs., Inc., 536 F.3d 663, 668 (7th Cir. 2008). A

“plaintiff must do better than putting a few words on paper that, in the hands of an imaginative

reader, might suggest that something has happened to her that might be redressed by the law.”

Swanson v. Citibank, N.A., 614 F.3d 400, 403 (7th Cir. 2010) (emphasis in original); See also

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (holding that a plaintiff must allege more than merely

a “conceivable” claim; a plaintiff must plead enough facts to state a claim for relief that is plausible

on its face in order to survive a motion to dismiss).

            Here, Plaintiff attempts to state a claim premised on the number of attorneys listed on the

letterhead of MLG’s January, June and July 2018 letters (the “Letters”), the presence of a bar code

on the Letters, and the purported high number of letters Calvary sends daily. See D.E. 21, pp. 4-9;

see also Letters attached hereto as Group Exhibit A.1              Plaintiff makes logical leaps and


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    Courts can consider documents attached to a motion to dismiss, but not to the complaint, where
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conclusive assumptions that are unfounded and meritless. Specifically, Plaintiff contends that

since the letterhead lists “attorneys Christopher D Mandarich, Michael D Mandarich, John C.

Bonewicz, Ryan E. Vos, Anthony F. Porto, Veronica M. Barisich, Christina M. Milien, William

Boaz, William T. Sali, Angela Burmeister, Thomas M. McGreal, Crystal Flynn, and Faye Carroll”,

the unsophisticated consumer would assume that these letters “have been reviewed by the

aforementioned attorneys”. D.E. 21, ¶¶24-25. Plaintiff further surmises that “[b]ecause the

attorneys listed in the Notice to Sue are located in different stats, it is impossible that these

attorneys conducted a meaningful reviewed of these letters because it would be impractical for a

debt collector. . .to require each of its attorneys to review every collection letter.” D.E. 21, ¶26.

       Of course, all attorneys at the law firm do not review every single collection letter sent by

the firm. Any such assumption made by virtue of the number of names on letterhead is simply

ridiculous. The unsophisticated consumer, while naïve and trusting, is not a “dimwit.” Wahl, 556

F.3d at 645. Someone even with only “rudimentary knowledge about the financial world”

recognizes that law firm letterhead routinely contains the names of various lawyers in a firm. Id.

In fact, ABA Rule of Professional Responsibility 7.5(b) specifically allows the attorneys of the

firm to be identified in such a way. Moreover, contrary to Plaintiff’s assertion, none of the Letters

are signed by any attorney, which connotates a review by that individual. See Exhibit A. Instead,

the signature block merely contains the firm name in printed type.

       Further, Plaintiff does not allege what specific elements of the letters created the

impression that MLG was not meaningfully involved. Rather, Plaintiff erroneously relies on her

unsubstantiated allegation regarding “multitude of complaints that have been filed against


the complaint refers to those documents and they are central to the plaintiff's claim. See, e.g.,
Venture Associates Corp. v. Zenith Data Sys. Corp., 987 F.2d 429, 431 (7th Cir. 1993) (collecting
cases).

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Defendant in federal courts throughout the country, as well as with the Consumer Financial

Protection Bureau.” D.E. 21, ¶46. Notwithstanding the irrelevance of these purported other claims,

Plaintiff fails to offer any explanation as to how a “multitude of complaints” against MLG is at all

connected to, or evidence of, MLG’s alleged lack of attorney involvement with her specific Letters.

“A federal court is not obligated to sift through a complaint to extract some merit when the attorney

who drafted it has failed to do so himself.” See, United States ex rel. Garst v. Lockheed-Martin

Corp., 328 F.3d 374, 378 (7th Cir. 2003) “Rule 8(a) requires parties to make their pleadings

straightforward, so that judges and adverse parties need not try to fish a gold coin from a bucket

of mud.” Id. The Amended Complaint's lack of factual support not only severely disadvantages

MLG’s ability to responsively plead to, and defend against, Plaintiff’s claims, but also requires

this Court to sift through the Amended Complaint to decipher the connection between MLG and

the violations alleged therein. Accordingly, Plaintiff fails to state a plausible claim for relief.

       Moreover, merely surmising that the attorneys of the firm sent “hundreds” of collection

letters on a daily basis is insufficient on its own to support her claim that no attorney with MLG

had personally reviewed the circumstances of her account prior to sending the Letters. See

Napolitano v. Ragan & Ragan, 2017 U.S. Dist. LEXIS 131335, at *23 (D.N.J. Aug. 17, 2017). For

example, in Barata v. Nudelman, Klemm, & Golub, P.C., 2015 U.S. Dist. LEXIS 20280 (D.N.J.

Feb. 2015), a court dismissed a similar attempt at pleading a meaningful involvement claim based

on the “sheer number of letters sent.” Id. at *7. While the Barata court agreed that this fact, in

combination with others, might suggest that no attorney gave the letters meaningful attorney

review, to be remotely plausible the pleader must identify how many letters were produced, how

many attorneys produced them, and the length of time involved. Id. at *8-9. Relying on the “hope”

that discovery would produce those necessary, corroborating facts makes such a claim subject to



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dismissal. Id. at *7-9.

        Notably, this case is not akin to Knack-Toms v. Meyer Njus Tanick, PA, 2018 U.S. Dist.

LEXIS 192002, at *16 (N.D. Ill. 2018), which found that a plaintiff (represented by the same firm

as Plaintiff here) had adequately stated a meaningful involvement claim. In Knack-Toms, the

plaintiff received a letter which stated it was “from, and reviewed by, two attorneys”. Id. at *7-8.

Plaintiff alleged that the attorneys who signatures appeared on the correspondence allow their

signature to be used on hundreds of collection letters on a daily basis. Id. Here, Plaintiff’s claim is

contingent on the presence of a signature by an MLG attorney and a signature line on the Letters.

See D.E. 21, ¶25. The Letter at issue, however, contained no signature by an attorney, nor did it

contain names underneath a signature line. See Exhibit A. Further, the firm in Knack-Toms only

consisted of two attorneys, and allegations of thousands of daily letters. The MLG firm consists of

many more attorneys and far less letters. With all due respect to Judge Rienhard, the reasoning of

the courts in Barata and Napolitano is much more persuasive regarding the requirements for a

meaningful involvement claim. Under the requisite pleading standard, a consumer does not satisfy

her burden by merely pleading a high volume of letters sent by a law firm. Admittedly, that gives

the possibility of a lack of meaningful involvement. But plausibility, not probability, is the

requisite pleading standard. Something more is necessary to raise the claim to plausible level; for

instance, that the letter contained inaccurate information or inapplicable claims. Plaintiff’s

wavering allegations are only based on pure speculation and guesswork, thereby demonstrating

that her Amended Complaint is too equivocal to be plausible. See, e.g., D.E. 21, ¶ 27 (“…it stands

to reason that Cavalry has a proportionally large number of accounts…”); ¶33 (“These complaints

elucidate a problematic course of conduct…which seemingly would or could have been

avoided…”). Simply put, Plaintiff’s amended claims are insufficient under the requisite pleading



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standard and, in turn, warrants dismissal with prejudice of Plaintiff’s Amended Complaint.

       Lastly, even if Plaintiff’s interpretation of the Letters was logical, she fails to explain how

any such message would be material. Lox v. CDA, Ltd., 689 F.3d 818, 826 (7th Cir. 2012) (only

material statements are actionable under the FDCPA). Statements are “material” within the sense

of §1692e if it has “the ability to influence a consumer’s decision”. O’Rourke v. Palisades

Acquisition XVI, LLC, 635 F.3d 938, 942 (7th Cir. 2011). Put simply, it is of no matter to the

unsophisticated consumer whether one lawyer or ten lawyers at a law firm review the

circumstances of her account. The unsophisticated consumer would not take a different course of

action if only one attorney, as opposed to more, were listed on the letterhead. Thus, Plaintiff’s

claims on this theory fail for lack of materiality as well. Accordingly, Plaintiff’s Amended

Complaint must be dismissed with prejudice

   2. Plaintiff’s Claims Under §§ 1692e, e(2), e(5) and e(10) Fail as a Matter of Law

       Plaintiff’s claims fail because the Letters are plainly and clearly not misleading. The

Seventh Circuit recognized three categories of cases for false, deceptive or misleading statements:

           •   Category 1: Where the language is plainly and clearly not misleading.
           •   Category 2: Where language is not misleading or confusing on its face but has the
               potential to be so to the unsophisticated consumer.
           •   Category 3: Where the language is plainly deceptive or misleading.

Janeteos v. Fulton Friedman & Gullace, LLP, 825 F. 3d 317, 322-23 (7th Cir. 2016); Ruth v.

Triumph P’Ships, 577 F. 3d 790, 800-801(7th Cir. 2009). If the alleged offending language falls

into the first category, the court can dismiss the complaint based on its own determination that the

language does not violate the law. Ruth, at 800. Further, in order for a statement to be misleading

and violate the FDCPA, it must be material. Hahn v. Triumph P’Ships LLC, 557 F. 3d 755, 758

(7th Cir. 2009).

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       Here, the alleged offending language in the Letters falls into the first category and should

be dismissed. Plaintiff’s §1692e claims are premised on the following language contained in the

January and June letters:

               “You may request records showing the following … (2) the debt balance,
               including an explanation of any interest charges and additional fees…”

D.E. 21, p. 3. See Group Exhibit A. Only an unrealistic, peculiar reading of this language would

lead to the impression that interest, late charges and other costs continued to accrue on the account.

In determining whether a collection letter comports with the requirements of the FDCPA, courts

should not read selected passages out of context, but should consider the letter in its entirety. See,

e.g., Keen v. Omnibus Intern., Inc., 1998 U.S. Dist. LEXIS 12619 (N.D. Ill. 1998). When the

Letters are read in their entirety with care, as expected of the least sophisticated consumer, it is

clear the Letters merely provide Plaintiff with the information he or she “may2” request from MLG.

In context, a reasonable reading of the words “including” and “any” in the sentence at issue

connotes possibilities of the types of records associated with the debt balance the consumer may

seek from MLG. This language does not insinuate that interest, fees, or charges continue to accrue

on the account. It only promises to provide records relative to the current balance on the account,

if applicable. In short, the strained interpretation Plaintiff advocates does not comport with the

reasonableness requirement of the Seventh Circuit’s unsophisticated consumer standard.

       Further, it is important to note that complained-of language is required by California state

law. Plaintiff is a California resident, and MLG is a California limited liability partnership. The

California Code contains a law entitled “The Fair Debt Buying Practices Act”, which imposes


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  Black’s Law Dictionary defines “may” as “[t]o be permitted to” and “[t]o be a possibility.”
May, BLACK’S LAW DICTIONARY (10th ed. 2014). Among other definitions, Merriam-
Webster's Collegiate Dictionary defines “may” as “have the ability to” and “used to indicate
possibility or probability.” See May, MERRIAM-WEBSTER'S COLLEGIATE DICTIONARY
(10th ed. 2000).
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certain requirements on “debt buyers”. Cal. Civ. Code § 1788.50(a)(1); see also, Finely v. Dynamic

Recovery Solutions LLC, 2015 U.S. Dist. LEXIS 77999, at *15 (N.D. Cal. June 15, 2015)

(explaining the applicability of the Act). The debts at issue here are purchased debts. See, Exhibit

A. Indeed, Plaintiff admits that both debts were “charged-off” (D.E. 21, ¶10), and the letters

themselves provide the name of the current creditors, LVNV Funding, LLC and Calvary SPV I,

LLC.3 Because the current creditors of the debts are “debt buyers”, Cal Civ Code § 1788.52 applies

to the collection of the accounts. §1788.52(d) of the Act requires that debt buyers, such as LVNV

and Calvary, include the following notice in their first communication with a debtor:

       “You may request records showing the following: (1) that [insert name of debt buyer] has
       the right to seek collection of the debt; (2) the debt balance, including an explanation of
       any interest charges and additional fees; (3) the date of default or the date of the last
       payment; (4) the name of the charge-off creditor and the account number associated with
       the debt; (5) the name and last known address of the debtor as it appeared in the charge-off
       creditor’s or debt buyer’s records prior to the sale of the debt, as appropriate; and (6) the
       names of all persons or entities that have purchased the debt. You may also request from
       us a copy of the contract or other document evidencing your agreement to the debt.
       “A request for these records may be addressed to: [insert debt buyer’s active mailing
       address and email address, if applicable].”

The California Legislature’s intended purpose of this provision was to “create documentation and

process standards for the collection of consumer debt that all interested parties can easily

understand.” 2013 Cal ALS 64, 2013 Cal SB 233, 2013 Cal Stats. ch. 64, 2013 Cal ALS 64, 2013

Cal SB 233, 2013 Cal Stats. ch. 64. Defendant’s inclusion of this language in its January 24th and

June 13th letters (with the requisite information filled into each blank) merely complies with the



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  LVNV Funding, LLC and Calvary SPV I, LLC have been determined to be “debt buyers” many
times over. Dorrian v. LVNV Funding, LLC, 579 Mass. 265 (2018) (LVNV is a debt buyer);
Robinson v. Sherman Fin. Grp., 984 F. Supp. 2d 816, 826 (E.D. Tenn. 2013)(same); Boerner v.
LVNV Funding LLC, 326 F. Supp. 3d 665, 672 (E.D. Wis. 2018) (same); Simpson v. Cavalry
SPV I, LLC, 2014 Ark. 363, ¶ 9, 440 S.W.3d 335, 340 (finding Cavalry purchased debts);
Montalbano v. Cavalry Portfolio Servs., Civil Action No. 2:12-cv-01471, 2013 U.S. Dist. LEXIS
20636, at *22 (W.D. Pa. Feb. 15, 2013) (same).


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requirements of California law. Accordingly, Plaintiff’s amended claims under §§ 1692e and f

must be dismissed with prejudice.4

                                        CONCLUSION

       For the foregoing reasons, Defendant, Mandarich Law Group, LLP, respectfully requests

that this Honorable Court dismiss Plaintiff’s Amended Complaint with prejudice and for such

further and other relief this Honorable Court deems just.

Dated: February 5, 2019                              Respectfully submitted,

                                                     By: /s/ Kevin S. Borozan
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  Plaintiff’s Claims under §1692f and f(1) are identical to its claims under §1692e and as such,
do not deserve independent discussion. See, Dkt. 21, ¶53 (“Defendant violated §1692f and f(1)
when it unfairly suggested that it could collect additional amounts above and beyond the total
balance due. . .”); ¶54 (“Misrepresentation that debt collection correspondences are sent from an
attorney who sufficiently reviewed the accounts associated with such correspondence. . .”). The
same conduct which Plaintiff claims is violative under §1692e cannot also implicate §1692f,
particularly where Plaintiff fails to specifically identify how the conduct is also unfair and
unconscionable in violation of §1692f. See e.g., Rush v. Portfolio Recovery Assocs. LLC, 977 F.
Supp. 2d 414, 432 (D.N.J. 2013) (“Courts have therefore determined that § 1692f cannot be the
basis of a separate claim for complained of conduct that is already explicitly addressed by other
sections of the FDCPA[.]”); Chalik v. Westport Recovery Corp., 677 F. Supp. 2d 1322, 1329
(S.D. Fla. 2009) (“[A] claim of a violation of Section 1692f is deficient if it ‘does not identify
any misconduct beyond that which Plaintiffs assert violate other provisions of the FDCPA.’”)
(quoting Foti v. NCO Fin. Sys., 424 F. Supp. 2d 643, 667 (S.D.N.Y. 2006)); Baker v. Allstate
Fin. Servs., Inc., 554 F. Supp. 2d 945, 953 (D. Minn. 2008) (“Baker’s claims are all premised on
two basic types of alleged conduct: improper disclosures and false threats of legal action.
Multiple specific FDCPA provisions address both these types of conduct. Section 1692f is
therefore, inapplicable[.]”); Christy v. EOS CCA, 905 F. Supp. 2d 648, 656 (E.D. Pa. 2012)
(judgment in defendant’s favor appropriate when § 1692f claim “does not identity any
misconduct beyond which plaintiffs assert violate other provisions of the FDCPA”); Taylor v.
Health W. Williams, LLC, 510 F. Supp. 2d 1206, 1217 (N.D. Ga. 2007) (dismissing Section
1692f claim where plaintiff failed to plead misconduct other than that asserted to violate other
FDCPA provisions).
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 5, 2019, I electronically filed the foregoing with the Clerk

of the District Court using the CM/ECF system, which will send notification of such filing to the

attorneys of record.


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